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Attorneys for Defendant
Cigna Health and Life Insurance Company


                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


 MARCO PALLAZI AND PIERANGELA
 BONELLI,                                        Civil Action No. 2:22-cv-06278-BRM-AME

                      Plaintiffs,
 v.                                               NOTICE OF MOTION TO DISMISS
                                                  PLAINTIFF’S SECOND AMENDED
 CIGNA HEALTH AND LIFE INSURANCE                 COMPLAINT AGAINST DEFENDANT
 COMPANY, JOHN OR JANE DOE 1                        CIGNA HEALTH AND LIFE
 THROUGH 100, FICTITIOUS NAMES                        INSURANCE COMPANY
 BEING NATURAL PERSONS AT PRESENT
 UNIDENTIFIED, XYZ CORPORATIONS 1                 RETURN DATE: NOVEMBER 20, 2023
 THROUGH 100, FICTITIOUS NAMES
 BEING CORPORARATIONS AT PRESENT                      ORAL ARGUMENT REQUESTED
 UNIDENTIFIED, ABC ENTITIES 1
 THROUGH 100, FICTITIOUS NAMES
 BEING COMMERCIAL ENTITIES AT
 PRESENT UNIDENTIFIED,
                      Defendants.


      TO:    Richard Malagiere, Esq.
             Leonard E. Seaman, Esq.
             Law Offices of Richard Malagiere, P.C.
             250 Moonachie Road, Suite 300A
             Moonachie, NJ 07074
             Attorneys for Plaintiffs

       PLEASE TAKE NOTICE that on November 20, 2023, at 10:00 a.m., or as soon thereafter

as counsel may be heard, Defendant Cigna Health and Life Insurance Company (“Cigna”) through
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its attorneys, Gibbons P.C., will move before the Honorable Brian R. Martinotti, U.S.D.J., at the

Martin Luther King Federal Building and U.S. Courthouse, 50 Walnut Street, Newark, New Jersey

07101, for an Order dismissing Plaintiffs’ Second Amended Complaint, pursuant to Federal Rule

of Civil Procedure 12(b)(6).

        PLEASE TAKE FURTHER NOTICE that in support of the within Motion, Cigna shall

rely upon the Memorandum of Law submitted herewith and all other pleadings and papers on file

in this matter.

        PLEASE TAKE FURTHER NOTICE that at the time and place aforesaid Cigna will

respectfully request that the proposed form of Order submitted herewith be entered by the Court.


                                                      GIBBONS P.C.
                                                      Attorneys for Defendant
                                                      Cigna Health and Life Insurance Company


                                                By:     s/ Caroline E. Oks
                                                      Caroline E. Oks


DATED: October 19, 2023




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